Fill in this information to identify your case:

United States Bankruptcy Court for the

District of Alaska

Case Number (if known):                     Chapter you are filing under:
                                                       Chapter 7
                                                       Chapter 11                                              Check if this is an amended filing
                                                       Chapter 12
                                                       Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                      12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together –
called a joint case – and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do
you own a car,” the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form
uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the
other as Debtor 2. The same person must be Debtor 1 in all the forms.

Be as accurate and complete as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.
Part 1:              Identify Yourself
                                                  About Debtor 1:                                    About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name
                                                  Mae                                                Garic
    Write the name that is on your                First Name                                         First Name
    government-issued picture                     Elizabeth                                          Austin
                                                  Middle Name                                        Middle Name
    identification (for example, your
                                                  Hayes                                              Hayes
    driver’s license or passport).                Last Name                                          Last Name

    Bring your picture identification to your     Suffix (Sr., Jr., II, III)                         Suffix (Sr., Jr., II, III)
    meeting with the trustee.

2. All other names you have used in
   the last 8 years                               Mae
                                                  First Name                                         First Name
    Include your married or maiden                Elizabeth
                                                  Middle Name                                        Middle Name
    names and any assumed, trade
                                                  Sprague
    names and doing business as names.            Last Name                                          Last Name

    Do NOT list the name of any separate          Mae
    legal entity such as a corporation,           First Name                                         First Name
    partnership, or LLC that is not filing        Beth
    this petition.                                Middle Name                                        Middle Name
                                                  Sprague
                                                  Last Name                                          Last Name


                                                  Mat-Su Real Estate Company
                                                  Business name (if applicable)                      Business name (if applicable)


                                                  Mat-Su Realty & Appraisal
                                                  Business name (if applicable)                      Business name (if applicable)


3. Only the last 4 digits of your Social
   Security number or federal                     Xxx       –      xx      –   7   0   2   3         Xxx       –      xx      –   9   3   4    2
   Individual Taxpayer Identification
   Number (ITIN)                                  OR                                                 OR

                                                  9xx       –     xx       –                         9xx       –     xx       –


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Debtor 1    Mae              E.                       Hayes                              Case number (if known)
            First Name       Middle Name              Last Name


                                           About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):


4. Your Identification Numbers (EIN),       2       0      –     8   6    6      3   2      1   7    __ __ –
   if any.                                 EIN                                                       EIN
                                           __ __ –                                                   __ __ –
                                           EIN                                                       EIN




5. Where you live                                                                                    If Debtor 2 lives at a different address:

                                           4385 W. Sunrise Road
                                           Number       Street                                       Number     Street



                                           Wasilla,                      AK          99654
                                           City                          State       Zip Code        City                      State        Zip Code


                                           Matanuska-Susitna Borough
                                           County                                                    County


                                           If your mailing address is different from the             If your mailing address is different from the
                                           one above, fill it in here. Note that the court will      one above, fill it in here. Note that the court will
                                           send any notices to you at this address.                  send any notices to you at this address.

                                           189 E. Nelson Avenue, #205
                                           Number       Street                                       Number     Street

                                           P.O. Box                                                  P.O. Box
                                           Wasilla, AK 99654
                                           City                          State       Zip Code        City                      State        Zip Code




6. Why you are choosing this district      Check one:                                                Check one:
   to file for bankruptcy
                                                Over the last 180 days before the filing of this          Over the last 180 days before the filing of this
                                           petition, I have lived in this district longer than in    petition, I have lived in this district longer than in
                                           any other district.                                       any other district.

                                               I have another reason. Explain.                           I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                  Page 2
Debtor 1    Mae                 E.                       Hayes                                   Case number (if known)
            First Name          Middle Name              Last Name


Part 2:             Tell the Court About Your Bankruptcy Case

7. The chapter of the Bankruptcy              Check one.        [For a brief description of each, see Notice Required by 11 U.S.C. §342(b) for
   Code you are choosing to file              Individuals Filing for Bankruptcy (Form 2010)]. Also, go to the top of page 1 and check the
   under                                      appropriate box

                                                          C hapter 7
                                                          C hapter 11
                                                          C hapter 12
                                                          C hapter 13



8. How you will pay the fee
                                                  I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local
                                              court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                              pay with cash, cashier’s check, or money order. If your attorney is submitting your payment on your
                                              behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                                   I need to pay the fee in installments. If you choose this option, sign and attache the Application
                                              for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                                   I request that my fee be waived. (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                              than 150% of the official poverty line that applies to your family sized and you are unable to pay the
                                              fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                              Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for bankruptcy
   within the last 8 years?                       N o.

                                                  Yes.        D istrict                  W hen                      C ase num ber
                                                                                                 M M / D D / YYYY

                                                              D istrict                  W hen                      C ase num ber
                                                                                                 M M / D D / YYYY

                                                              D istrict                  W hen                      C ase num ber
                                                                                                 M M / D D / YYYY



10. Are any bankruptcy cases pending
    or being filed by a spouse who is             N o.

    not filing this case with you, or by a
                                                  Yes.        D ebtor                                                 R elationship to you
    business partner, or by an affiliate?
                                                              D istrict                 W hen                       C ase num ber (if k nown)
                                                                                                 M M / D D / YYYY



                                                              D ebtor                                           R elationship to you

                                                              D istrict                 W hen                       C ase num ber (if k nown)
                                                                                                 M M / D D / YYYY



11. Do you rent your residence?
                                                  N o.        G o to line 12.
                                                  Yes.        H as your landlord obtained an eviction judgm ent against you?

                                                              N o. G o to line 12.
                                                              Yes.Fill out Initial S tatem ent A bout an E viction Judgm ent A gainst Y ou (Form 101A ) and file it as part of
                                                                   this bank ruptcy petition.



Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                     Page 3
Debtor 1    Mae                 E.                       Hayes                                     Case number (if known)
            First Name          Middle Name              Last Name


Part 3:             Report About Any Businesses You Ow n as a Sole Proprietor

12. Are you a sole proprietor of any
    full- or part-time business?                  N o.         G o to P art 4.
                                                  Yes.         N am e and location of business

   A sole proprietorship is a business
   you operate as an individual, and is           M at-S u R eal E state C om pany and M at-S u R ealty & A ppraisal
   not a separate legal entity such as a          N am e of business, if any
   corporation, partnership or LLC.
                                                  189 E . N elson A venue, #205
   If you have more than one sole                 Number                 Street
   proprietorship, use a separate sheet
   and attach it to this petition.

                                                  W asilla                                                    AK              99654
                                                  C ity                                                       S tate          ZIP C ode



                                                  Check the appropriate box to describe your business:

                                                          H ealth C are B usiness [as defined in 11 U .S .C . § 101(27A )]
                                                          S ingle A sset R eal E state [as defined in 11 U .S .C . § 101(51B )]
                                                          S tockbrok er [as defined in 11 U .S .C . § 101(53A )]
                                                          C om m odity B rok er [as defined in 11 U .S .C . § 101(6)]
                                                          N one of the above




13. Are you filing under Chapter 11 of        If you are filing under C hapter 11, the court m ust know whether you are a sm all business debtor or a debtor choosing to
    the Bankruptcy Code, and are you a        proceed under S ubchapter V so that it can set appropriate deadlines. If you indicate that you are a sm all business
                                              debtor or are choosing to proceed under S ubchapter V , you m ust attach your m ost recent balance sheet, statem ent of
    small business debtor or a debtor
                                              operations, cash-flow statem ent, and federal incom e tax return or if any of these docum ents do not exist, follow the
    as defined by 11 U.S.C. §1182(1)?         procedure in 11 U .S .C . §1116(1)(B ).

   For a definition of small business             N o.         I am not filing under C hapter 11.
   debtor, see 11 U.S.C. §101(51D).               N o.         I am filing under C hapter 11, but I am N O T a sm all business debtor according to the definition in the
                                                               B ank ruptcy C ode.
                                                  Yes.         I am filing under C hapter 11, I am a sm all business debtor according to the definition in the B ank ruptcy
                                                               C ode, and I do not choose to proceed under S ubchapter V of C hapter 11.
                                                  Yes.         I am filing under C hapter 11, I am a debtor according to the definition in §1182(1) of the B ank ruptcy
                                                               C ode, and I choose to proceed under S ubchapter V of C hapter 11.




Part 4:             Report if You Ow n or Have Any Hazardous Property or Any Property That Needs Immediate
                    Attention

14. Do you own or have any property
    that poses or is alleged to pose a            N o.
                                                  Yes.W hat is the hazard?
    threat of imminent and identifiable
    hazard to public health or safety?
    Or do you own any property that
    needs immediate attention?                           If im m ediate attention is needed, why is it needed?


   For example, do you own perishable
   goods, or livestock that must be fed,
                                                         W here is the property?
   or a building that needs urgent                                                  N um ber       S treet
   repairs?



                                                                                    C ity                                                 S tate        ZIP C ode




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                  Page 4
Debtor 1    Mae                 E.                     Hayes                                      Case number (if known)
            First Name          Middle Name            Last Name


Part 5:             Explain Your Efforts to Receive a Briefing About Credit Counseling

                                              About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

15. Tell the court whether you have           Y ou m ust check one:                                              Y ou m ust check one:
    received a briefing about credit                     I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency w ithin the 180 days before I filed              counseling agency w ithin the 180 days before I filed
    counseling
                                              this bankruptcy petition, and I received a certificate of          this bankruptcy petition, and I received a certificate
                                              com pletion.                                                       of com pletion.
   The law requires that you receive a
   briefing about credit counseling before    A ttach a copy of the certificate and the paym ent plan, if        A ttach a copy of the certificate and the paym ent plan, if
   you file for bankruptcy. You must          any, that you developed with the agency.                           any, that you developed with the agency.
   truthfully check one of the following
   choices. If you cannot do so, you are                I received a briefing from an approved credit                      I received a briefing from an approved credit
                                              counseling agency w ithin the 180 days before I filed              counseling agency w ithin the 180 days before I filed
   not eligible to file.
                                              the bankruptcy petition, but I do not have a certificate           the bankruptcy petition, but I do not have a certificate
                                              of com pletion.                                                    of com pletion.
   If you file anyway, the court can
   dismiss your case, you will lose           W ithin 14 days after you file this petition, you M U S T file a   W ithin 14 days after you file this petition, you MU S T file a
   whatever filing fee you paid, and your     copy of the certificate and paym ent plan, if any.                 copy of the certificate and paym ent plan, if any.
   creditors can begin collection
   activities again.                                    I certify that I asked for credit counseling                       I certify that I asked for credit counseling
                                              services from an approved agency but w as unable to                services from an approved agency but w as unable to
                                              obtain those services during the 7 days after I m ade              obtain those services during the 7 days after I m ade
                                              m y request, and exigent circum stances m erit a 30                m y request, and exigent circum stances m erit a 30
                                              day tem porary w aiver of the requirem ent.                        day tem porary w aiver of the requirem ent.

                                              To ask for a 30-day tem porary waiver of the requirem ent,         T o ask for a 30-day tem porary waiver of the requirem ent,
                                              attach a separate sheet explaining what efforts you m ade          attach a separate sheet explaining what efforts you m ade
                                              to obtain the briefing, why you were unable to obtain it           to obtain the briefing, why you were unable to obtain it
                                              before you filed for bank ruptcy, and what exigent                 before you filed for bankruptcy, and what exigent
                                              circum stances required you to file this case.                     circum stances required you to file this case.

                                              Your case m ay be dism issed if the court is dissatisfied          Your case m ay be dism issed if the court is dissatisfied
                                              with your reasons for not receiving a briefing before you          with your reasons for not receiving a briefing before you
                                              filed for bankruptcy.                                              filed for bank ruptcy.

                                              If the court is satisfied with your reasons, you m ust still       If the court is satisfied with your reasons, you m ust still
                                              receive a briefing within 30 days after you file. You m ust        receive a briefing within 30 days after you file. You m ust
                                              file a certificate from the approved agency, along with a          file a certificate from the approved agency, along with a
                                              copy of the paym ent plan you developed, if any. If you do         copy of the paym ent plan you developed, if any. If you do
                                              not do so, your case m ay be dism issed.                           not do so, your case m ay be dism issed.

                                              A ny extension of the 30-day deadline is granted only for          A ny extension of the 30-day deadline is granted only for
                                              cause and is lim ited to a m axim um of 15 days.                   cause and is lim ited to a m axim um of 15 days.

                                                        I am not required to receive a briefing about                      I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                                              Incapacity. I have a m ental illness or                            Incapacity. I have a m ental illness or
                                                   a m ental deficiency that m ak es m e incapable of                 a m ental deficiency that m ak es m e incapable of
                                                   realizing or m ak ing rational decisions about                     realizing or m aking rational decisions about
                                                   finances.                                                          finances.

                                                               D isability. M y physical disability                               D isability. M y physical disability
                                                   causes m e to be unable to participate in a                        causes m e to be unable to participate in a
                                                   briefing in person, by phone, or through the                       briefing in person, by phone, or through the
                                                   internet, even after I reasonably tried to do so.                  internet, even after I reasonably tried to do so.

                                                               Active duty. I am currently on active                              Active duty. I am currently on active
                                                   m ilitary duty in a m ilitary com bat zone.                        m ilitary duty in a m ilitary com bat zone.

                                              If you believe you are not required to receive a briefing          If you believe you are not required to receive a briefing
                                              about credit counseling, you m ust file a m otion for waiver       about credit counseling, you m ust file a m otion for waiver
                                              of credit counseling and with the court.                           of credit counseling and with the court.



Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                    Page 5
Debtor 1    Mae                 E.                          Hayes                                  Case number (if known)
            First Name          Middle Name                 Last Name


Part 6:             Answ er These Questions for Reporting Purposes

16. What kind of debts do you have?           16a.      Are your debts prim arily consum er debts? C onsum er debts are defined in 11 U .S .C . §101(8) as “incurred
                                              by an individual prim arily for a personal, fam ily, or household purpose.”

                                                     N o.        G o to line16b.
                                                     Yes.        G o to line 17.

                                              16b.     Are your debts prim arily business debts? B usiness debts are debts that you incurred to obtain m oney for
                                              a business or investm ent or through the operation of a business or investm ent

                                                     N o.        G o to line16c.
                                                     Yes.        G o to line 17.

                                              16c.          S tate the type of debts you owe that are not consum er debts or business debts.




17. Are you filing under Chapter 7?                  N o.        I am not filing under C hapter 7. G o to line 18.

                                                   Yes.      I am filing under C hapter 7. D o you estim ate that after any exem pt property is excluded and
Do you estimate that after any exempt
                                              adm inistrative expenses are paid that funds will be available to distribute to unsecured creditors?
property is excluded and administrative
expenses are paid that funds will be                 N o.
available for distribution to unsecured              Yes.
creditors?

18. How many creditors do you                        1 - 49                                        1,000 - 5,000                                     25,001 - 50,000
    estimate you owe?                                50 - 99                                       5,000 - 10,000                                    50,001 - 100,000
                                                     100 - 199                                     10,000 - 25,000                                   More than 100,000
                                                     200 - 999

19. How much do you estimate your                    $0 - $50,000.00                          $1,000,001 - $10 m illion                   $500,000,001 - $1 billion
    assets to be worth?                              $50,001 - $100,000                       $10,000,001 - $50 m illion                  $1,000,000,001 - $10 billion
                                                     $100,001 - $500,000                      $50,000,001 - $100 m illion                 $10,000,000,001 - $50 billion
                                                     $500,001 - $1 m illion                   $100,000,001 - $500 m illion                M ore than - $50 billion


20. How much do you estimate your                    $0 - $50,000.00                          $1,000,001 - $10 m illion                   $500,000,001 - $1 billion
    liabilities to be?                               $50,001 - $100,000                       $10,000,001 - $50 m illion                  $1,000,000,001 - $10 billion
                                                     $100,001 - $500,000                      $50,000,001 - $100 m illion                 $10,000,000,001 - $50 billion
                                                     $500,001 - $1 m illion                   $100,000,001 - $500 m illion                M ore than - $50 billion


Part 7:             Sign Below

For you                                       I have exam ined this petition, and I declare under penalty of perjury that the inform ation provided is true and correct.

                                              If I have chosen to file under C hapter 7, I am aware that I m ay proceed, if eligible, under C hapter 7, 11, 12, or 13 of
                                              Title 11, U nited S tates C ode. I understand the relief available under each chapter, and I choose to proceed under
                                              C hapter 7.

                                              If no attorney represents m e and I did not pay or agree to pay som eone who is not an attorney to help m e fill out this
                                              docum ent, I have obtained and read the notice required by 11 U .S .C . §342(b).

                                              I request relief in accordance with the C hapter of T itle 11, U nited S tates C ode, specified in this petition.

                                              I understand m ak ing a false statem ent, concealing property, or obtaining m oney or property by fraud in connection with
                                              a bankruptcy case can result in fines up to $250,000.00, or im prisonm ent for up to 20 years, or both.
                                              18 U .S .C . §§ 152, 1341, 1519, and 3571.



                                                     /s/ Mae E. Hayes                                                Garic A. Hayes
                                                     Signature of Debtor 1                                           Signature of Debtor 2

                                              Executed on               05/28/2024                                   05/28/2024
                                                                        MM / DD / YYYY                                MM / DD / YYYY

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Debtor 1    Mae                 E.                    Hayes                                    Case number (if known)
            First Name          Middle Name           Last Name


For your attorney, if you are                 I, the attorney for the debtor(s) nam ed in this petition, declare that I have inform ed the debtor(s) about eligibility to
represented by one                            proceed under C hapter 7, 11, 12 or 13 of title 11, U nited S tates C ode, and have explained the relief available under
                                              each C hapter for which the person is eligible. I also certify that I have delivered to the debtor the notice required by 11
                                              U .S .C . §342(b) and, in a case in which §707(b)(4)(D ) applies, certify that I have no k nowledge after an inquiry that the
If you are not represented by an              inform ation in the schedules filed with the petition is incorrect.
attorney, you do not need to file this
page.


                                                   /s/ Robert P. Crowther                                                     Date:     05/28/2024
                                                                                                                                        MM / DD / YYYY


                                                   Robert P. Crowther
                                                   Printed name

                                                   Law Office of Robert P. Crowther
                                                   Firm name

                                                   1113 W. Fireweed Lane, Suite 200
                                                   Number     Street




                                                   Anchorage,                                                  AK             99503
                                                   City                                                        State          ZIP Code



                                                   Contact phone (907) 274-1980                           E-mail address: rcrowther@gci.net



                                                   9111081                                      Alaska
                                                   Bar number                                   State




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                             Page 7
Debtor 1    Mae                E.                     Hayes                                   Case number (if known)
            First Name         Middle Name            Last Name


For you if you are filing this bankruptcy    The law allows you, as an individual, to represent yourself in bank ruptcy court but you should understand that m any
without an attorney                          people find it extrem ely difficult to represent them selves successfully. B ecause bankruptcy has long-term
                                             financial and legal consequences, you are strongly urged to hire a qualified attorney.

If you are represented by an attorney,       To be successful, you m ust correctly file and handle your bank ruptcy case. T he rules are very technical, and a m istak e
you do not need to file this page.           or inaction m ay affect your rights. For exam ple, your case m ay be dism issed because you did not file a required
                                             docum ent, pay a fee on tim e, attend a m eeting or hearing, or cooperate with the court, case trustee, U .S . trustee,
                                             bankruptcy adm inistrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file
                                             another case, or you m ay lose protections, including the benefit of the autom atic stay.

                                             You m ust list all your property and debts in the schedules that you are required to file with the court. E ven if you plan to
                                             pay a particular debt outside your bank ruptcy, you m ust list that debt in your schedules. If you do not list a debt, the
                                             debt m ay not be discharged. If you do not list property or properly claim it as exem pt, you m ay not be able to k eep the
                                             property. T he judge can also deny you a discharge of all your debts if you do som ething dishonest in your bank ruptcy
                                             case, such as destroying or hiding property, falsifying records, or lying. Individual bank ruptcy cases are random ly
                                             audited to determ ine if debtors have been accurate, truthful, and com plete. B ankruptcy fraud is a serious C rim e;
                                             you could be fined and im prisoned.

                                             If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. T he
                                             court will not treat you differently because you are filing for yourself. T o be successful, you m ust be fam iliar with the
                                             U nited S tates B ank ruptcy C ode, the Federal R ules of B ank ruptcy P rocedure, and the local rules of the court in which
                                             your case is filed. You m ust also be fam iliar with any state exem ptions laws that apply.

                                             A re you aware that filing for bank ruptcy is a serious action with long-term financial and legal consequences?

                                                  N o.
                                                  Yes.

                                             A re you aware that bank ruptcy fraud is a serious C rim e and that, if your bank ruptcy form s are inaccurate or incom plete,
                                             you could be fined or im prisoned?

                                                  N o.
                                                  Yes.

                                             D id you pay or agree to pay som eone who is not an attorney to help you fill out your bankruptcy form s?

                                                  N o.
                                                  Yes.      N am e of P erson:
                                                            A ttach B ankruptcy P etition P reparer’s N otice, D eclaration and S ignature (O fficial Form 119).



                                             By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I have
                                             read and understood this notice, and I am aware that filing a bankruptcy case without an attorney may
                                             cause me to lose my rights or property if I do not properly handle my case.


                                                  ÷                                                           ÷
                                                  Signature of Debtor 1                                       Signature of Debtor 2

                                                  Date:                                                       Date:
                                                            MM / DD / YYYY                                              MM / DD / YYYY



                                                  Contact phone                                                    Contact phone

                                                  Cell phone                                                       Cell phone

                                                  E-mail address:                                                  E-mail address:




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